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UNITED STATES DISTRICT COURT

DISTRICT OF OREGON

SOUL’D OUT PRODUCTIONS, LLC,
Plaintiff,
v.

ANSCHUTZ ENTERTAINMENT
GROUP, INC., et al.,

Defendants.

By agreement of the parties, the above-captioned matter is dismissed with prejudice, no

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STIPULATION OF DISMISSAL

interest, no costs and each party to bear its own attorneys’ fees.

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Dated November 20 _, 2020.

Respectfully submitted,

SOUL’D OUT PRODUCTIONS, LLC

By its attorneys,

s/ Nika Aldrich

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SO ORDERED THIS Z S DAY OF NOVEMBER, 2020.

Michael W. Mosman
United States District Judge

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